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                                     EXHIBIT E

                              Fifth Monthly Fee Statement




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

     In re:                                                      Case No. 20-10846

     THE ROMAN CATHOLIC CHURCH                                   Section “A”
     OF THE ARCHDIOCESE OF NEW
     ORLEANS,                                                    Chapter 11
                        Debtor. 1
                                                                 Objection Deadline: June 8, 2021




  MONTHLY FEE AND EXPENSE STATEMENT OF BERKELEY RESEARCH GROUP,
    LLC FOR THE PERIOD FEBRUARY 1, 2021 THROUGH FEBRUARY 28, 2021

              1.   In accordance with Section XIII(B) of the Court’s December 4, 2019 General

 Order Regarding Procedures for Complex Chapter 11 Cases (the “Complex Case Order”),

 Berkeley Research Group, LLC (“BRG”), as financial advisor to the Official Committee of

 Unsecured Creditors (the “Committee”) in this Chapter 11 case concerning the above captioned

 debtor and debtor-in-possession (the “Debtor”) hereby submits its Monthly Fee and Expense

 Statement (the “Statement”) for the period from February 1, 2021 through February 28, 2021 (the

 “Statement Period”) for the above-styled Chapter 11 bankruptcy case (collectively, the

 “Bankruptcy Case”).

              ITEMIZATION OF SERVICES RENDERED AND EXPENSES INCURRED

              2.   The BRG timekeepers (collectively, the “Timekeepers”) who rendered services to

 the Committee in connection with the Bankruptcy Case during the Statement Period, including the

 hourly rate, title, and fees earned by each Timekeeper, is attached hereto as Exhibit A.




 1
   The last four digits of the Debtor’s federal tax identification number are 8966. The Debtor’s principal place of
 business is located at 7887 Walmsley Ave., New Orleans, LA 70125.


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        3.      The detailed time record of BRG for the Statement Period are attached hereto as

 Exhibit B.

        4.      In addition, under separate cover, the detailed time record under Exhibit B will be

 sent to the Office of the United States Trustee in the LEDES format.

        As of the date hereof, BRG has received the following payments for fees and expenses

 incurred from the Debtors’ estates post-petition: None.

       TOTAL FEES AND EXPENSES SOUGHT FOR THE STATEMENT PERIOD

        5.      The total amounts sought for fees for professional services rendered and

 reimbursement of expenses incurred for the Statement Period are as follows:

                          February 1, 2021 through February 28, 2021

               Fees (at standard rates)                           $9,401.00

               Voluntary reduction                              ($1,122.50)

               Fees (after reduction)                             $8,278.50



               Expenses                                                 $0.00

               Total                                              $8,278.50




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                         NOTICE AND OBJECTION PROCEDURES

           6.   In accordance with the Interim Compensation Order, notice of the Statement has

 been served upon the following parties (“Notice Parties”) as required by the Complex Case Order:

 (i) counsel for the Debtor, Mark Mintz, Esq., Jones Walker LLP, 201 St. Charles Ave, New

 Orleans, LA 70170-5100; (ii) counsel for the prepetition secured lender, Hancock Whitney Bank,

 David F. Waguespack, Esq., Carver, Darden, Koretzky, Tessier, Finn, Blossman & Areaux,

 L.L.C., 1100 Poydras Street, Suite 3100, New Orleans, Louisiana 70163-1102; (iii) KS State Bank,

 1010 Westloop, P.O. Box 69, Manhattan KS 66505-0069; (iv) Dell Financial Svc LP, Mail Stop

 P82DF, 23 One Dell Way, Round Rock TX 78682; (v) David S. Rubin, Butler Snow LLP, 445

 North Boulevard, Suite 300, Baton Rouge, LA 70802; (vi) Colleen Murphy, Greenberg Traurig,

 One International Place, Suite 2000, Boston, MA 02110; (vii) Annette Jarvis, Greenberg Traurig,

 222 S. Main Street, Fifth Floor, Salt Lake City, UT 84101; and (viii) Amanda George, Esq., Office

 of The United States Trustee, 400 Poydras Street, Suite 2110, New Orleans, LA 70130.

           7.   Also pursuant to the Complex Case Order, any objections to this Statement must

 be asserted on or before June 8, 2021 (the “Objection Deadline”), setting forth the nature of the

 objection and the specific amount of fees or expenses at issue.

           8.   If no objections to the Statement are received on or before the Objection Deadline,

 the Debtor, pursuant to the Complex Case Order, is authorized to pay BRG on an interim basis the

 total amount of $6,622.80 which consists of eighty percent (80%) of BRG’s total fees of $8,278.50,

 or $6,622.80, and one hundred percent (100%) of BRG’s total expenses of $0.00 for the Statement

 Period.

           9.   To the extent an objection to the Statement is received on or before the Objection

 Deadline, the Debtor is to withhold payment of that portion of the Statement to which the objection

 is directed and will promptly pay the remainder of the fees and disbursements in the percentages
                                                 3
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 set forth above. To the extent such objection is not resolved, it shall be preserved and scheduled

 for consideration at the next interim fee application hearing.

  Dated: May 25, 2021                                  Respectfully submitted,

                                                       By:/s/ Paul N. Shields
                                                          Matthew K. Babcock
                                                          Paul N. Shields
                                                          Berkeley Research Group, LLC
                                                          201 South Main Street, Suite 450
                                                          Salt Lake City, Utah 84111
                                                          Telephone: (801) 364-6233
                                                          Email: mbabcock@thinkbrg.com
                                                                 pshields@thinkbrg.com

                                                       Financial Advisors to the Official Committee of
                                                       Unsecured Creditors




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                                     EXHIBIT A

                                 (Timekeeper Summary)




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       COMPENSATION BY TIMEKEEPER DURING COMPENSATION PERIOD
              FEBRUARY 1, 2021 THROUGH FEBRUARY 28, 2021

       Name                  Title        Hourly Rate   Hours     Amount

 Paul Shields          Managing              $620         2.70       $1,674.00
                       Director

 Ray Strong            Managing              $590          1.9       $1,121.00
                       Director
 Matthew Babcock       Associate             $540         0.20        $108.00
                       Director
 Jeffrey Shaw          Senior Managing       $475        10.40       $4,940.00
                       Consultant
 Sarita Bhattacharya   Consultant            $325         0.70        $227.50
 Christina             Senior Associate      $285         0.40        $114.00
 Tergevorkian
 Shelby Chaffos        Associate             $235         0.40          $94.00
                                                         16.70       $8,278.50
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                                     EXHIBIT B

                                   (February Invoice)
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                        Page 2 of 6
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 113807
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

Services Rendered From February 1, 2021 Through February 28, 2021

PROFESSIONAL SERVICES
                                                                             Rate       Hours            Amount
Managing Director
  Paul Shields                                                             620.00        2.70           1,674.00
  Ray Strong                                                               590.00        1.90           1,121.00

Associate Director
   Matthew Babcock                                                         540.00        0.20             108.00

Senior Managing Consultant
   Jeffrey Shaw                                                            475.00       10.40           4,940.00

Consultant
  Sarita Bhattacharya                                                      325.00        0.70             227.50

Senior Associate
   Christina Tergevorkian                                                  285.00        0.40             114.00

Associate
   Shelby Chaffos                                                          235.00        0.40               94.00

Total Professional Services                                                             16.70           8,278.50
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                        Page 3 of 6
c/o: Official Committee of Unsecured Creditors                                                    Invoice # 113807
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for   Client-Matter: 20532-033612
the Archdiocese of New Orleans

SUMMARY BY TASK CODE

 Task Code    Description                                                                Hours          Amount
  200.20      Document / Data Analysis (Financial / Accounting)                           0.60            372.00
  200.30      Document / Data Analysis (Financial / Accounting) - Accounting System       2.00          1,183.00
  200.90      Document / Data Analysis (Production Requests)                              1.90            890.00
              Debtors Operations / Monitoring (Monthly Operating Reports / Periodic
  220.00      Reporting)                                                                   1.40           661.50
  600.00      Claims / Liability Analysis (General)                                       10.80         5,172.00

Total Professional Services                                                               16.70         8,278.50
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                                Page 4 of 6
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113807
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Services Rendered From February 1, 2021 Through February 28, 2021

DETAIL OF PROFESSIONAL SERVICES

Date         Name                         Description                                 Hours        Rate          Amount

Task Code: 200.20 - Document / Data Analysis (Financial / Accounting)
02/05/21     Paul Shields              Conducted a preliminary review of the           0.20      620.00           124.00
                                       annual financial information
                                       statement for the year ended June 30,
                                       2020 which was filed on December 12,
                                       2020.
02/05/21     Paul Shields                 Organized records relating to the            0.40      620.00           248.00
                                          Archdiocese of New Orleans bonds.
                                          Total for Task Code 200.20                   0.60                       372.00

Task Code: 200.30 - Document / Data Analysis (Financial / Accounting) - Accounting System
02/17/21     Paul Shields              Reviewed communications regarding             0.10        620.00            62.00
                                       request for backup of accounting
                                       system and basis for such request.
02/17/21     Ray Strong                   Analyzed Debtor's accounting system          1.60      590.00           944.00
                                          structure and issues, including
                                          providing technical information to
                                          counsel for papers to compel
                                          production of accounting system data.
02/17/21     Ray Strong                   Prepared correspondence to UCC               0.30      590.00           177.00
                                          Counsel regarding inquiries regarding
                                          Debtor's accounting system to assist in
                                          production of system data.
                                          Total for Task Code 200.30                   2.00                     1,183.00

Task Code: 200.90 - Document / Data Analysis (Production Requests)
02/01/21     Paul Shields              Communicated regarding subpoena                 0.10      620.00            62.00
                                       relating to document request.
02/15/21     Paul Shields                 Reviewed response to document                0.30      620.00           186.00
                                          request production, including
                                          evaluation of adequacy of proposed
                                          production.
02/16/21     Paul Shields                 Reviewed email communications                0.10      620.00            62.00
                                          regarding request for production of
                                          accounting system.
02/18/21     Shelby Chaffos               Spoke with BRG (PS, CT) to discuss           0.40      235.00            94.00
                                          document production.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                                Page 5 of 6
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113807
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
02/18/21     Paul Shields                 Provided suggested update to                 0.20      620.00           124.00
                                          pleading in connection with 2004
                                          requests.
02/18/21     Paul Shields                 Spoke with BRG (CT, SC) regarding            0.40      620.00           248.00
                                          documentation contained in Debtor
                                          production relating to the motion to
                                          dismiss.
02/18/21     Christina Tergevorkian       Spoke with BRG (PS and SC) to discuss        0.40      285.00           114.00
                                          document productions.
                                          Total for Task Code 200.90                   1.90                       890.00

Task Code: 220.00 - Debtors Operations / Monitoring (Monthly Operating Reports / Periodic Reporting)
02/25/21     Sarita Bhattacharya         Met with BRG (PS) in order to develop     0.70    325.00                 227.50
                                         evaluation of monthly operating
                                         reports.
02/25/21     Paul Shields                 Instructed BRG (SB) regarding                0.70      620.00           434.00
                                          development of evaluation of data set
                                          forth in monthly operating reports.
                                          Total for Task Code 220.00                   1.40                       661.50

Task Code: 600.00 - Claims / Liability Analysis (General)
02/02/21     Jeffrey Shaw                  Responded to emails regarding claims        0.30      475.00           142.50
                                           analysis.
02/03/21     Jeffrey Shaw                 Communicated with claims agent               0.20      475.00            95.00
                                          regarding claim issues.
02/04/21     Matthew Babcock              Evaluated issues regarding claims            0.20      540.00           108.00
                                          analysis.
02/04/21     Jeffrey Shaw                 Analyzed updated claims information          2.40      475.00         1,140.00
                                          from Donlin Recano.
02/05/21     Jeffrey Shaw                 Analyzed updated claims information,         2.50      475.00         1,187.50
                                          including revisions to claims schedules
                                          for claims filed through Feb 4.
02/16/21     Jeffrey Shaw                 Communicated with BRG (PS, MB)               0.10      475.00            47.50
                                          regarding claims analysis.
02/16/21     Jeffrey Shaw                 Prepared follow up communication             0.10      475.00            47.50
                                          with claims agent regarding filed
                                          claims.
02/16/21     Paul Shields                 Prepared follow up communications            0.20      620.00           124.00
                                          with TCC counsel (DB) and BRG (MB,
                                          JS) regarding survivor claims analysis.
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To: The Roman Catholic Church for the Archdiocese of New Orleans                                                Page 6 of 6
c/o: Official Committee of Unsecured Creditors                                                            Invoice # 113807
RE: The Official Committee of Unsecured Creditors for The Roman Catholic Church for           Client-Matter: 20532-033612
the Archdiocese of New Orleans

Date         Name                         Description                                 Hours        Rate          Amount
02/18/21     Jeffrey Shaw                 Analyzed updated claims information          2.30      475.00         1,092.50
                                          through Feb 17, including revisions to
                                          claims schedules.
02/18/21     Jeffrey Shaw                 Prepared email to Donlin Recano              0.50      475.00           237.50
                                          regarding claims issues.
02/18/21     Jeffrey Shaw                 Reviewed updated claims received             0.70      475.00           332.50
                                          from Donlin Recano.
02/20/21     Jeffrey Shaw                 Updated claims schedules.                    1.30      475.00           617.50
                                          Total for Task Code 600.00                  10.80                     5,172.00

Professional Services                                                                 16.70                     8,278.50
